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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION


UNITED STATES OF AMERICA,                  )
                                           )
v.                                         ) CASE NUMBER: 5:21cr9
                                           )
LINDA JEAN FACUNDO,                        )
     Defendant                             )

             DEFENDANT FACUNDO’S RESPONSE TO GOVERNMENT’S
             MOTION TO MAINTAIN CUSTODY OF SEIZED PROPERTY

       Comes now, LINDA JEAN FACUNDO, and files this response to Government’s Motion

to Maintain Custody of Seized Property (Doc. #98).

       The Government’s motion does not pertain to any property of this Defendant.

       The Defendant has no objections to this Honorable Court granting the Government’s

motion.


       Respectfully submitted this 17th day of December, 2021

                                                     s/Kathy Register Griffin
                                                     Georgia Bar Number 599325
                                                     5915 Faith Ridge
                                                     Waycross, GA 31503
                                                     Telephone: 912-284-0888
                                                     Facsimile: 912-283-3103
                                                     Email: grffkrg@aol.com
     Case 5:21-cr-00009-LGW-BWC             Document 237        Filed 12/17/21      Page 2 of 2




                        IN THE UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA,                      )
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v.                                             ) CASE NUMBER: 5:21cr9
                                               )
LINDA JEAN FACUNDO,                            )
     Defendant                                 )

                                 CERTIFICATE OF SERVICE

        This is to certify that I have this day served all parties in this case in accordance with the
directives from the Court Notice of Electronic Filing (“NEF”), which was generated as a result of
electronic filing.

       This 17th day of December, 2021

                                                      s/Kathy Register Griffin
                                                      Georgia Bar Number 599325
                                                      5915 Faith Ridge
                                                      Waycross, GA 31503
                                                      Telephone: 912-284-0888
                                                      Facsimile: 912-283-3103
                                                      Email: grffkrg@aol.com
